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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                   8:08CR281
                     Plaintiff,               )
                                              )
              v.                              )
                                              )                       ORDER
JOSE A. ROBLEDO,                              )
                                              )
                     Defendant.               )
                                              )


       Before the court is defendant’s unopposed Motion to Continue (Filing No. 112).
Following a phone conference regarding this matter, and for good cause shown, the court
will grant the motion.
       IT IS ORDERED that jury trial is rescheduled to May 26, 2009, at 8:30 a.m., before
the undersigned, in Courtroom No. 3, Roman L. Hruska U.S. Courthouse, 111 South 18th
Plaza, Omaha, Nebraska. The defendant must be present.
       The ends of justice will be served by granting such a motion and outweigh the
interests of the public and the defendant in a speedy trial, and the additional time arising
as a result of granting of the motion, the time between today’s date, and May 26, 2009,
shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act, for the reason that defendant's counsel requires additional time to
adequately prepare the case, taking into consideration due diligence of counsel and the
novelty and complexity of this case, and the failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       Dated this 29th day of April, 2009.
                                             BY THE COURT:



                                             s/ Joseph F. Bataillon
                                             Chief District Judge
